Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 1 of 7 PageID #: 58440




                                                                            E20
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 2 of 7 PageID #: 58441




                                                                            E21
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 3 of 7 PageID #: 58442




     (There were 16 such pages, with the attributes and levels chosen at random for
                                    each question)




                                                                                E22
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 4 of 7 PageID #: 58443




                                                                            E23
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 5 of 7 PageID #: 58444




                                  (End of Survey)




                                                                            E24
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 6 of 7 PageID #: 58445




                                          Exhibit E
                                 Invitation to Respondents


    Guaranteed Five Dollars for completing this survey

    Subject: Everyone who qualifies and completes this survey will receive
    Five Dollars



    Dear {Respondent}:


    Your opinions and feedback can make a difference! As a member of our panel,
    your input can help in the development of products and services of the future!
    Take a moment out of your busy day to share your thoughts.

    Everyone who qualifies and completes this survey wins $5.00!

    Please click here to get started!

    http://survey5.greenfieldonline.com/wi/p6059073/i.asp

    All winners will be notified via email when their Greenfield prize account has
    been credited.
    Please allow approximately 4-6 weeks for winners to be selected and accounts to
    be credited.

    If you encounter any technical difficulties while completing this survey, please
    click here for help:
    http://www.greenfieldonline.com/surveycenter/faqs.htm or send an email to
    help@greenfieldonline.com
    and reference project #108350a in your message.

    We look forward to hearing your opinions!

    Sara Williams
                                        Greenfield Online




                                                                                       E25
Case 1:04-cv-01945-JBW-SMG Document 892-8 Filed 06/09/06 Page 7 of 7 PageID #: 58446
